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                                                       UNITED srATES DISTRICT COURT
                                                                 DISTRICT OF NEBRASKA

                                                                                                          2010 JAN 27 AM II: 38
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        UNnEDSTATESOFAMEmc~

                                                     Plaintiff

                           vs

                                                                           Magistrate Case No. 4:09-MJ-03043-rgk-2
        JUAN RAMIREZ-KEY,                                                          lO-CR-03001-RGK-cRI-2
                                                                           SUBSTI11JTION OF ATIORNEY
                                                     Defendant

        ••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••
        I, JUAN RAMIREZ-REY, hereby substitute

        MICHAEL R. McDONNELL
        418 East La Habra Blvd.. La Habra. CA 90631

        .J..::(S;.z:62::::.l)'-lII694~·~38~2:l.l.7           as attorney ofrecord in place and stead of

        Harry A. Moore, CJA gointId counsel


        Dated: January L3.,. 2*.


        I CONSENT TO THE ABOVE
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        ABOVE SUBSTITUTION ACCEPTED.

        Dated: January U. 2009.                                             ~,e2m.p~
                                                                           MICHAEL R. McDONNELL
        ••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••
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